8:16-cr-00331-JMG-SMB      Doc # 211   Filed: 12/12/17   Page 1 of 2 - Page ID # 658




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                             8:16-CR-331

vs.
                                                            ORDER
JULIAN MIX-PEREZ,

                   Defendant.


      This matter is before the Court on correspondence from the defendant
that the Court has filed as a motion for copies (filing 209) and a
corresponding motion to proceed in forma pauperis (filing 210). The
defendant's motions will be denied.
      The defendant is requesting copies of the evidence in his case, and
copies of every motion filed in the case, along with a copy of his plea
agreement. But the defendant does not have the right to receive copies of
documents without payment, even if he is indigent. See 28 U.S.C. § 1915;
Lewis v. Precision Optics, Inc., 612 F.2d 1074, 1075 (8th Cir. 1980). The
defendant was previously informed of the procedure for paying to obtain
copies of case filings. Filing 206.
      Furthermore, the defendant's request for copies is premature. The
defendant is asking for copies, he says, in support of a motion pursuant to 28
U.S.C. § 2255. Filing 209. But as of now, the defendant's case is on appeal to
the U.S. Court of Appeals for the Eighth Circuit, and the defendant has
counsel representing him before that court. The defendant cannot pursue
postconviction relief while his direct appeal is still pending. See United States
8:16-cr-00331-JMG-SMB     Doc # 211   Filed: 12/12/17   Page 2 of 2 - Page ID # 659




v. Jagim, 978 F.2d 1032, 1042 (8th Cir. 1992); Masters v. Eide, 353 F.2d 517,
518 (8th Cir. 1965). The Court will deny the motion for copies.
      The defendant's motion for leave to proceed in forma pauperis (filing
209) is, therefore, moot, and will be denied as such. The Court does not
question the defendant's indigence, and has already permitted him to proceed
in forma pauperis on appeal. Filing 151. But the Court sees no reason, at this
point, to subsidize the defendant's litigation expenses.


      IT IS ORDERED:


      1.    The defendant's motion for copies (filing 209) is denied.


      2.    The defendant's motion to proceed in forma pauperis (filing
            210) is denied as moot.


      Dated this 12th day of December, 2017.


                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge




                                      -2-
